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                              ** CIVIL MINUTES **

Date: 07/28/2021                                      Judge: Alston
Time: 10:13 – 10:20
Reporter: T. Harris

Civil Action Number: 1:21cv822

   Microsoft Corporation v. John Does 1-2 Controlling a Computer Network Thereby
                         Injuring Plaintiff and Its Customers

              Counsel for Plaintiff:          Counsel for Defendants:
              Gabriel Ramsey

Appearance of Counsel for Plaintiff.

Matter on for a Preliminary Injunction hearing.

Preliminary Injunction Granted. Counsel to submit a proposed order to the Court.
